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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 BRYANT GILES,

 Defendant.                                                 No. 10-30084-DRH

                    ORDER FOR PRESENTENCE PROCEDURE

 HERNDON, Chief Judge:

              This matter comes before the Court for case management.            Strict

 compliance with Federal Rule of Criminal Procedure 32 and Southern District of

 Illinois Local Rule Cr 32.1 shall be enforced.      A party wishing to object to a

 presentence report must have such objections filed with the Clerk of the Court no

 later than 14 days after receiving the presentence report. For counsel, receiving is

 interpreted to mean when the presentence report is docketed in the court file via

 CM/ECF. Responses to objections must be filed no later than 7 days after receipt of

 said objections. Parties, however, are encouraged to consult with the probation

 officer who authored the presentence report prior to filing objections in an effort to

 obtain agreement to revise the report without necessity of formal objections. Such

 informal discussions are not sufficient cause to exceed the deadlines without leave

 of Court for an extension of time, which likely will impact the sentencing date. Any

 unresolved objections which are subject to a formal objection shall cause the


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 probation officer to prepare an addendum addressing each objection.

             Any party wishing to file a sentencing memorandum relative to the

 issues to be considered at sentencing, shall file such pleading no later than 7 days

 before sentencing. Likewise, should either party intend to present testimony at the

 sentencing hearing, notice of the proposed witnesses, the subject of said testimony,

 and projected length of the testimony shall be filed with the Court no later than 7

 days prior to the sentencing hearing, with service on opposing counsel. Generally,

 the Court schedules sentencing hearings for an hour and this information will allow

 the Court the opportunity to change its schedule if necessary.

             If a party is unable to comply with this schedule, a continuance of the

 sentencing date should be sought.

             IT IS SO ORDERED.

             Signed this 17th day of February, 2011.
                                                                  David R. Herndon
                                                                  2011.02.17
                                                                  15:36:30 -06'00'
                                              Chief Judge
                                              United States District Court




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